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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER ON CERTAIN LETTER
                                                                         10   This Order Relates To:                  )   BRIEFS
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
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                                                                         15        The Court has before it two letter briefs, again calling
                                                                         16   before it questions the Court thought long since resolved.          In ECF
                                                                         17   No. 4031, certain Defendants make requests regarding which matters
                                                                         18   will be decided upon Ninth Circuit law versus which will be
                                                                         19   remanded without decision.     These same Defendants also make
                                                                         20   requests with respect to oral argument on certain motions.          In ECF
                                                                         21   No. 4038, certain Direct Action Plaintiffs suggest that the Court
                                                                         22   has already answered these questions.
                                                                         23        The Court believes it has answered many if not all of these
                                                                         24   questions previously.     This Order is issued to respond to the
                                                                         25   letter briefs and is meant strictly to help eliminate any
                                                                         26   confusion.    It does not change any previous or pending Order.
                                                                         27        The Court will not permit re-litigation of any matter that has
                                                                         28   already been decided and the Court will not remand already-decided
                                                                               Case 3:07-cv-05944-JST Document 4052 Filed 09/11/15 Page 2 of 3




                                                                          1   motions with the open invitation to re-litigate them.          Doing so
                                                                          2   would negate the purposes for which the cases were consolidated
                                                                          3   into a single Multidistrict Litigation case in the first place.
                                                                          4   For example, insofar as the Court has already decided that certain
                                                                          5   cases do or do not fall under Illinois Brick and Royal Printing,
                                                                          6   those rulings stand.
                                                                          7         As to matters not yet decided, the relevant Special Master --
                                                                          8   Magistrate Judge (Ret.) James Larson -- shall adjudicate all
                                                                          9   designated pretrial matters per his Appointment Order.             That Order
                                                                         10   expressly excludes matters assigned to Judge (Ret.) Vaughn Walker,
                               For the Northern District of California
United States District Court




                                                                         11   such as discovery disputes and disputes arising during the course
                                                                         12   of depositions.   That Order expressly includes: (1) 24-29 motions
                                                                         13   for summary judgment presently pending; (2) 40 motions in limine
                                                                         14   presently pending; (3) 4 Daubert motions presently pending (to the
                                                                         15   degree the Special Master can resolve or limit the issues connected
                                                                         16   to such motions); and (4) motions for cases that will be remanded
                                                                         17   to a different jurisdiction of origin which Judge Larson believes
                                                                         18   can be decided applying Ninth Circuit law without any significant
                                                                         19   risk of conflicting circuit law resulting in appellate issues.            The
                                                                         20   Court is presently cognizant of 18 such motions where parties
                                                                         21   already agree that the motion can be decided under the law of the
                                                                         22   Ninth Circuit.    In addition, at the discretion of the Special
                                                                         23   Master or the Court, the Special Master may consider any motion
                                                                         24   filed on or after August 7, 2015, which is deemed of a similar ilk
                                                                         25   to the other designated pretrial matters such that review by the
                                                                         26   Special Master is appropriate.
                                                                         27   ///
                                                                         28   ///



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                                                                          1        If Judge Larson believes a motion is or is not appropriate for
                                                                          2   decision under Ninth Circuit law, he is free to so advise the
                                                                          3   Court, and the Court will make the final decision.
                                                                          4        Oral argument may be held or skipped at the discretion of the
                                                                          5   Special Master or the Court.      The Court does not require Judge
                                                                          6   Larson to hold oral argument because the Court's initial review of
                                                                          7   designated pretrial matters suggests many of them may be
                                                                          8   appropriate for resolution without oral argument per Civil Local
                                                                          9   Rule 7-1(b).
                                                                         10
                               For the Northern District of California
United States District Court




                                                                         11        IT IS SO ORDERED.
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                                                                         13        Dated: September 11, 2015
                                                                         14                                       UNITED STATES DISTRICT JUDGE
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